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                     EXHIBIT B
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       CHAPTER IX REMEDIES FOR INFRINGEMENT OF RIGHTS


                                Article 123 (Right of Demanding Suspension, etc. of Infringement)


(1)   Any person who holds the copyright or other rights protected under this Act (excluding the rights to be compensated under
      Articles 25, 31, 75, 76, 76-2, 82, 83 and 83-2; hereafter the same shall apply in this Article) may demand of a person
      infringing his/her rights to suspend such act or demand a person likely to infringe on his/her rights to take preventive
      measures or to provide a security for compensation for damages. <Amended by Act No. 9529, Mar 25, 2009>


(2)   If a person who holds the copyright or other rights protected under this Act makes a demand under paragraph (1), he/she
      may demand destruction of the objects made by the act of infringement or other necessary measures.
      [*177]
(3)   In the cases of paragraphs (1) and (2), or in the case where a criminal indictment under this Act has been filed, on request
      of a plaintiff or accuser, the court may, with or without security, issue an order to temporarily suspend the act of
      infringement, or seize the objects made by the act of infringement, or to take other necessary measures.


(4)   With respect to paragraph (3), where a final judicial decision was made that no infringement of copyright and other rights
      protected under this Act has been made, the applicant shall pay compensation for the damages caused by his/her request.


                                        Article 124 (Act Construed as Infringement) [*178]


(1)   Any act falling under any of the following subparagraphs shall be considered to be infringement of copyright or other rights
      protected under this Act: <Amended by Act No. 9625, Apr. 22, 2009>


1.    The importation into the Republic of Korea, for the purpose of distribution therein of goods made by an act which would
      infringe on copyright or other rights protected under this Act, if they were made within the Republic of Korea at the time of
      such importation;


2.    The possession, for the purpose of distribution, of goods produced by an act that constitutes an infringement on copyright or
      other rights protected under this Act (including those imported as referred to in subparagraph 1) with the knowledge of such
      infringement;


3.    Exploitation in business of a copy (including imported goods [*179] pursuant to subparagraph 1) of a program made in
      infringement of copyright of a program by a person who has acquired it with the knowledge of such infringement.


(2)   An act of using a work in a manner prejudicial to the honor or reputation of the author shall be considered to be an
      infringement of his/her moral rights. <Amended by Act No. 10807, Jun. 30, 2011>


                                         (3)   Deleted. <by Act No. 10807, Jun. 30, 2011>


                                                 Article 125 (Claim for Damages)
